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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION


 UNITED STATES OF AMERICA,                 )
                                           )
 Plaintiff,                                )
                                           )
 vs.                                       )     NO. 2:10-CR-109
                                           )         (2:15-CV-275)
 DANTE LEANDRO REYES,                      )
                                           )
 Defendant.                                )


                            OPINION AND ORDER
       This matter is before the Court on: (1) the Motion Under 28

 U.S.C. Section 2255 To Vacate, Set Aside, Or Correct Sentence By a

 Person in Federal Custody, filed by Dante Leandro Reyes on July 17,

 2015 (DE #1225); and (2) the Motion for Expansion of the Record,

 also filed by Dante Leandro Reyes on July 17, 2015 (DE #1227).               For

 the reasons set forth below, the section 2255 motion is DENIED and

 the motion for expansion of the record is DENIED AS MOOT.                    The

 Clerk is ORDERED to DISMISS this case WITH PREJUDICE. The Clerk is

 ORDERED to distribute a copy of this order to Dante Leandro Reyes,

 #04835-748, BEAUMONT FCI, Federal Correctional Institution, Inmate

 Mail/Parcels, P.O. Box 26020, Beaumont, TX 77720, or to such other

 more current address that may be on file for the Defendant.

 Further,    this   Court    declines      to   issue     a   certificate      of

 appealability.
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 BACKGROUND

       On November 16, 2011, a Third Superseding Indictment was filed

 against Defendant, Dante Leandro Reyes a/k/a “DK”, and twenty other

 defendants.1    (DE #230).    Reyes was charged in Count One and Count

 Two of the 15-count Third Superseding Indictment.                    Count One

 charged   Reyes    and   others   with      conspiracy   to    participate     in

 racketeering activity in violation of 18 U.S.C. § 1962.              Count Two

 charged Reyes and others with conspiracy to possess with intent to

 distribute and distribute cocaine and marijuana in violation of 21

 U.S.C. § 846.

       On March 13, 2013, Reyes entered into a plea agreement with

 the Government, and the agreement was filed with this Court.                 (DE

 #809).    In it, Reyes agreed to plead guilty to Count One of the

 Third Superseding Indictment, and the Government agreed to move to

 dismiss Count Two at the time of the sentencing.              (Id., ¶¶ 7(a) and

 8).   The Government and Reyes also reached certain agreements that

 were not binding on the Court.             (Id., ¶ 9).   Specifically, they

 agreed that, if Defendant continued to accept responsibility for

 his criminal conduct, he should receive a two point, and if

 eligible, an additional one point reduction in his Guideline

 offense level.    (Id., ¶ 9(a)).       The Government agreed to recommend

 that Reyes be sentenced at the low end of the applicable guideline



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         The case had a total of 23 defendants, but two plead guilty prior to
 the filing of the Third Superseding Indictment.

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 range.    (Id., ¶9(b)).       Additionally, the parties agreed that

 “defendant can argue for a sentence below the guidelines for the

 offense in Count 1" but that “the government will oppose any

 sentence below the guidelines.”            (Id., ¶ 9(c)).    In exchange for

 these benefits, the plea agreement contained the following wavier:

            I understand that the law gives a convicted
            person the right to appeal the conviction and
            the sentence imposed; I also understand that
            no one can predict the precise sentence that
            will be imposed, and that the Court has
            jurisdiction and authority to impose any
            sentence within the statutory maximum set for
            my offenses as set forth in this plea
            agreement; with this understanding and in
            consideration of the government’s entry into
            this plea agreement, I expressly waive my
            right to appeal or to contest my conviction
            and my sentence or the manner in which my
            conviction or my sentence was determined or
            imposed, to any Court on any ground, including
            any claim of ineffective assistance of counsel
            unless the claimed ineffective assistance of
            counsel relates directly to this waiver or its
            negotiation, including any appeal under Title
            18, Unites States Code, Section 3742 or any
            post-conviction proceeding, including but not
            limited to, a proceeding under Title 28,
            Unites States Code, Section 2255.

 (Id., ¶ 11).

       Further, Defendant agreed that his attorney had “done all that

 anyone could do to counsel and assist [him],” that he was offering

 his guilty plea “freely and voluntarily and of [his] own accord,”

 that “no promises [had] been made to [him] other than those

 contained in [the] agreement,” and that he had not been “threatened

 in any way by anyone to cause [him] to plead guilty in accordance


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 with [the] agreement.”        (Id., ¶¶ 14-15).

         This Court held a change of plea hearing on March 14, 2013.

 (DE ##810, 1075).       When asked whether he was “fully satisfied with

 the counsel, representation, and advice given to you in this case

 by Mr. O’Toole as your attorney?” Reyes replied “yes, sir.”                             (DE

 #1075, p. 8).     After Reyes read through paragraphs 7 through 9 of

 his   plea   agreement,      the    Court       asked   him   whether    he      read   it

 previously, understood it, agreed with it, and was asking the Court

 to approve it.      Reyes answered yes to each of these questions.

 (Id., pp. 8-9).    Reyes acknowledged repeatedly that he agreed with

 the individual and collective terms of the plea agreement and

 confirmed that he wanted to plead guilty under the agreement.

 (Id., pp. 8-42).

         The Court informed Reyes that for Count One, “the most that

 you could get would be life imprisonment, a fine of up to $250,000,

 or a combination of both, up to five years of supervised release,

 full restitution and a $100 special assessment,” and Defendant

 answered that he understood.            (Id., p. 13).           Additionally, the

 Court advised Defendant that “[t]he least you could get would be

 probation, no fine, no supervised release, no restitution, but you

 still    would   have    a   $100    special       assessment,”      and      Defendant

 indicated that he understood.           (Id.).

         The Court also confirmed that Reyes understood that the Court

 would ultimately decide Defendant’s sentence and that neither the


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 Government’s recommendations nor the Guidelines were binding.

 (Id., pp. 14-17).      During the hearing, this Court questioned Reyes

 extensively about his voluntary waiver of his right to appeal,

 including the following excerpts from that colloquy:

            Q:    Mr. Reyes, I want you to also read right now
                  paragraph 11 of the plea agreement.

            A:    I finished, Your Honor.

            Q:    Basically what that says, Mr. Reyes, is that
                  in all criminal cases a defendant has a right
                  to appeal his conviction and/or sentence in a
                  case? Do you understand that?

            A:    Yes, sir.

            Q:    You recall in this case you agreed that I have
                  the jurisdiction to sentence you up to the
                  maximum provided for by the statute? Remember
                  you and I talked about when I said you were
                  facing up to life imprisonment, a fine of up
                  to $250,000 or a combination of both of these,
                  up to five years of supervised release and a
                  $100 special assessment. Do you recall that?

            A:    Yes, sir.

            Q:    What you’re basically doing in this paragraph,
                  Mr. Reyes, is you’re giving up all of your
                  rights to appeal any sentence of any finding
                  of guilty in your situation.           Do you
                  understand that?

            A:    Yes, sir.

            Q:    That’s for all practical purposes all of your
                  rights to an appeal. There’s some you can’t
                  give up like jurisdiction.     That includes
                  incompetence of counsel except as it relates
                  to this plea agreement or its negotiation –
                  this waiver or its negotiation. Do you
                  understand that?

            A:    Yes, sir.


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            Q:    You sure this is what you want to do?

            A:    Yes, sir.

            Q:    You understand that down the road you’re not
                  going to be able to call up Mr. O’Toole and
                  say, I don’t like what that judge sentenced me
                  to, I want to appeal, or, that judge went
                  crazy and gave me a sentence that was too
                  high, I want to appeal. You won’t have any
                  rights to do that anymore. Do you understand
                  that?

            A:    Yes, sir.

            Q:    Do you understand that the government is not
                  giving up any of their rights to an appeal?

            A:    Yes, sir.

            Q:    Have you talked to your attorney about this
                  paragraph?

            A:    Yes, sir.

            Q:    He answer all of your questions?

            A:    Yes, sir.

            Q:    Do you have any questions for the Court?

            A:    No, sir.

            Q:    And, again, I will ask you, are you sure this
                  is what you want to do?

            A:    Yes, sir.

            Q:    Are you doing it knowingly and voluntarily?

            A:    Yes, Your Honor.

            Q:    And are you asking me to approve it as
                  part of the plea agreement?

            A:    Yes, sir.

 (Id., pp. 26-28).


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       On September 18, 2013, the Court sentenced Reyes. (DE ##1054,

 1076).    There were no objections to the Guideline calculation set

 forth in the Presentence Report. (DE #1022). This Court sentenced

 Reyes to imprisonment for 262 months.            (DE #1054).        Additionally,

 the Court granted the Government’s motion to dismiss Count Two of

 the Third Superseding Indictment.           (DE #1055).

       On October 2, 2013, Reyes filed a notice of appeal. On August

 29, 2014, the Seventh Circuit Court of Appeals dismissed                      Reyes’

 appeal.    (DE # 1149-2).

       Thereafter   Reyes    moved   for     a   reduction      in   his      sentence

 pursuant to 18 U.S.C. § 3582(c)(2).             On July 14, 2015, this Court

 reduced Reyes sentence from 262 months of imprisonment to 210

 months of imprisonment.      (DE #1224).

       Reyes filed the instant motion under section 2255 on July 17,

 2015, setting forth two grounds for relief: (1) that his Fifth

 Amendment Due Process rights were violated when the Government

 breached the express terms of the plea agreement; and (2) that his

 trial    counsel   was   ineffective       in   failing   to    object        to   the

 Government’s breach of the plea agreement. (DE #1225 at 4-5).                      He

 may also be arguing that his appellate counsel was ineffective by

 failing to argue that the Government breached the plea agreement on

 direct appeal.      (DE #1225 at 4). In response, the Government

 contends that all of Reyes’s arguments were waived. (DE #1266).

 Reyes did not file a reply brief.          Therefore, this motion is fully

 briefed and ripe for adjudication.

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 DISCUSSION

       Habeas corpus relief under 28 U.S.C. section 2255 is reserved

 for "extraordinary situations."           Prewitt v. United States, 83 F.3d

 812, 816 (7th Cir. 1996).         In order to proceed on a habeas corpus

 motion pursuant to 28 U.S.C. section 2255, a federal prisoner must

 show that the district court sentenced him in violation of the

 Constitution or laws of the United States, or that the sentence was

 in excess of the maximum authorized by law, or is otherwise subject

 to collateral attack.       Id.

       A   section   2255    motion   is      neither   a   substitute        for    nor

 recapitulation of a direct appeal.            Id.; Belford v. United States,

 975 F.2d 310, 313 (7th Cir. 1992), overruled on other grounds by

 Castellanos v. United States, 26 F.3d 717 (7th Cir. 1994).                         As a

 result:

              [T]here are three types of issues that a
              section 2255 motion cannot raise: (1) issues
              that were raised on direct appeal, absent a
              showing    of   changed    circumstances;  (2)
              nonconstitutional issues that could have been
              but were not raised on direct appeal; and (3)
              constitutional issues that were not raised on
              direct appeal, unless the section 2255
              petitioner    demonstrates    cause   for  the
              procedural default as well as actual prejudice
              from the failure to appeal.

 Belford, 975 F.2d at 313.         Additionally, aside from demonstrating

 “cause” and “prejudice” from the failure to raise constitutional

 errors    on   direct      appeal,   a       section   2255    petitioner           may

 alternatively pursue such errors after demonstrating that the

 district court's refusal to consider the claims would lead to a

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 fundamental miscarriage of justice.           McCleese v. United States, 75

 F.3d 1174, 1177 (7th Cir. 1996).

       In assessing Defendant's motion, the Court is mindful of the

 well-settled     principle    that,        when   interpreting      a     pro   se

 petitioner's complaint or section 2255 motion, district courts have

 a “special responsibility” to construe such pleadings liberally.

 Donald v. Cook County Sheriff's Dep't, 95 F.3d 548, 555 (7th Cir.

 1996); Estelle v. Gamble, 429 U.S. 97, 106 (1976) (a “pro se

 complaint, ‘however inartfully pleaded’ must be held to ‘less

 stringent standards than formal pleadings drafted by lawyers’”)

 (quoting Haines v. Kerner, 404 U.S. 519 (1972)); Brown v. Roe, 279

 F.3d 742, 746 (9th Cir. 2002) (“pro se habeas petitioners are to be

 afforded ‘the benefit of any doubt’”) (quoting Bretz v. Kelman, 773

 F.2d 1026, 1027 n.1 (9th Cir. 1985)).             In other words:

            The mandated liberal construction afforded to
            pro se pleadings “means that if the court can
            reasonably read the pleadings to state a valid
            claim on which the [petitioner] could prevail,
            it should do so despite the [petitioner's]
            failure to cite proper legal authority, his
            confusion of various legal theories, his poor
            syntax and sentence construction, or his
            unfamiliarity with pleading requirements.”

 Barnett v. Hargett, 174 F.3d 1128, 1133 (10th Cir. 1999) (habeas

 petition from state court conviction) (alterations in original)

 (quoting Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991)).

 On the other hand, “a district court should not ‘assume the role of

 advocate for the pro se litigant’ and may ‘not rewrite a petition

 to include claims that were never presented.’”               Id.        Here, the

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 Court assessed Reyes’s claims with these guidelines in mind.



 Waiver

       The Seventh Circuit has recognized the validity of plea

 agreement waivers and will enforce the waiver unless there is a

 claim that the waiver was entered into involuntarily or that the

 waiver was a result of the ineffective assistance of counsel during

 the negotiation of the waiver. In Jones v. United States, 167 F.3d

 1142, 1145 (7th Cir. 1999), the Seventh Circuit held that only two

 claims could be raised on a section 2255 motion by an individual

 who waived his right to appeal:              (1) the defendant received

 ineffective assistance of counsel in negotiating the waiver; or (2)

 that the waiver was not knowingly and voluntarily made.                   Jones

 stated that courts should be:

             [m]indful of the limited reach of this
             holding, we reiterate that waivers are
             enforceable as a general rule; the right to
             mount a collateral attack pursuant to § 2255
             survives only with respect to those discrete
             claims   which   relate    directly to   the
             negotiation of the waiver.

 Id. at 1145.     In Mason v. United States, 211 F.3d 1065, 1069 (7th

 Cir. 2000), the Seventh Circuit applied its holding in Jones to bar

 an ineffective assistance of counsel claim that related only to the

 petitioner’s performance with respect to sentencing.                The Court

 found that “[b]ecause the challenge has nothing to do with the

 issue of a deficient negotiation of the waiver, [petitioner] has

 waived    his   right    to   seek     post-conviction     relief.”          Id.

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 Additionally, the Court stated that the following analysis should

 be considered in determining whether a claim has been waived:

              can the petitioner establish that the waiver
              was not knowingly or voluntarily made, and/or
              can he demonstrate ineffective assistance of
              counsel with respect to the negotiation of the
              waiver?

 Id.

       It is undisputed that in his plea agreement, Reyes waived his

 right to appeal or contest his conviction and sentence “to any

 Court on any ground, including any claim of ineffective assistance

 of counsel unless the claimed ineffective assistance of counsel

 relates directly to this waiver or its negotiation, including any

 appeal under . . . Title 28, United States Code, Section 2255.”

 (DE #809, ¶ 11).

       This    Court   is   satisfied        that   Defendant   knowingly       and

 intelligently waived his right to seek post-conviction relief.

 See, e.g., United States v. Davis, 348 F. Supp. 2d 964, 966 (N.D.

 Ind. 2004) (finding, under a similar section 2255 waiver, that

 defendant knowingly and intelligently waived his right to file a

 section 2255 motion).      To the extent that Defendant now argues to

 the contrary, “[s]elf-serving statements offered after the plea

 hearing generally fall in the face of contradictory voluntary

 statements made by the defendant during a plea hearing - the latter

 are presumed to be true.”       United States v. Mosley, No.              93-1829,

 1994 WL 503016, at *3 (7th Cir. Sept. 14, 1994) (citing, inter

 alia, United States v. Scott, 929 F.2d 313, 315 (7th Cir. 1991)

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 (“To allow [defendant] to withdraw his plea because of secret

 expectations    that   he   harbored        in   the   face     of   his       directly

 contradictory sworn testimony would undermine the strong societal

 interest in the finality of guilty pleas.”)).             As set forth by the

 Court earlier in this opinion, Defendant repeatedly testified

 during his hearing that he was satisfied with his counsel’s

 performance, that he was knowingly and voluntarily pleading guilty,

 and that he understood the charges against him and the possible

 sentence he was facing.       As such, the Court is satisfied that he

 knowingly and intelligently entered into the plea agreement.

       Furthermore, none of Reyes’s claims of ineffective assistance

 relate directly to the waiver or its negotiation.                      Each of his

 claims stems, in one way or another, from the alleged failure of

 the Government to comply with the terms of the plea agreement.                       In

 short, he claims that he didn’t get what he bargained for and both

 his trial and appellate counsel were ineffective because they did

 not either object to the Government’s failure to comply with the

 agreement or appeal on the basis of this alleged failure. These

 claims do not even purport to have anything to do with the waiver

 or its negotiation, and are therefore waived. See United States v.

 Clarke, No. 11 C 7404, 2012 WL 588708 *4 (N.D. Ill. Feb. 16, 2012

 aff’d 703 F.3d 1098 (7th Cir. 2013)(holding that a similar claim

 was waived and that petitioner had made no allegations related to

 the negotiation of her waiver). Accordingly, each and every one of

 Reyes’s arguments are waived.

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 Certificate of Appealability

       Pursuant to Rule 11 of the Rules Governing Section 2255

 Proceedings, a district court must “issue or deny a certificate of

 appealability       when   it   enters    a   final    order    adverse      to   the

 applicant.”    A certificate of appealability may issue only if the

 applicant “has made a substantial showing of the denial of a

 constitutional right.”          28 U.S.C. § 2253(c)(2).          To make such a

 showing, a defendant must show that “reasonable jurists could

 debate whether (or, for that matter, agree that) the motion should

 have been resolved in a different manner or that the issues

 presented    were    adequate      to   deserve    encouragement        to   proceed

 further.”     Slack v. McDaniel, 529 U.S. 473, 484 (2000) (internal

 quotation marks and citation omitted).

       For the reasons set forth above, Reyes has not stated any

 grounds for relief under section 2255.                The Court finds no basis

 for   a   determination     that    reasonable     jurists      would    find     this

 decision    debatable      or   incorrect     or   that   the    issues      deserve

 encouragement to proceed further.              Therefore, a certificate of

 appealability will not be issued.



 CONCLUSION

       For the aforementioned reasons, Defendant’s section 2255

 motion is DENIED and the motion for expansion of the record is

 DENIED AS MOOT.       The Clerk is ORDERED to DISMISS this case WITH



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 PREJUDICE.     Further, this Court declines to issue Defendant a

 certificate of appealability.          The Clerk is ORDERED to distribute

 a copy of this order to Dante Leandro Reyes, #04835-748, BEAUMONT

 FCI, Federal Correctional Institution, Inmate Mail/Parcels, P.O.

 Box 26020, Beaumont, TX 77720, or to such other more current

 address that may be on file for the Defendant. Further, this Court

 declines to issue a certificate of appealability.


 DATED: April 24, 2017                       /s/ RUDY LOZANO, Judge
                                             United States District Court




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